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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                               NO.: 20-CR-251 (DWF/ECW)

                            Plaintiff,
                                                  POSITION OF TY JINDRA
v.                                                WITH RESPECT TO SENTENCING

TY RAYMOND JINDRA,

                            Defendant.


       Defendant, Ty Jindra, by and through his attorneys, submits this position pleading

in support of a fair sentence. Mr. Jindra adopts the Presentence Report (PSR). He

submits that the 3553(a) factors support a variance below the guideline sentence.

       Police officers must be held to a high standard. Police officers are the first contact

between the public and the justice system. Our justice system requires an implicit trust

between the police and the public. Without honest policing there can be no respect for

the law. The jury found that Mr. Jindra betrayed that trust. In this case the intersection

of the interest of the public and the individual in relation to sentencing is squarely before

the Court.

       Ty Jindra dedicated his life to public service. He served honorably in the Iraqi

war. He was an up and coming police officer with Minneapolis. But, behind the outward

appearance of service and honor was a dark current. And unfortunately that darkness was

fed in Iraq and on the streets of Minneapolis. The trauma Mr. Jindra suffered performing

his public service consumed the twenty year old man. The donning of a uniform,



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whether it be military or police, did not protect him from the trauma he experienced.

Instead, Ty Jindra was crushed by the trauma. There are a lot of things he could or

should have done to deal with the trauma. But, he did not do all of the things he should

have done, instead he turned to drugs. First prescription then street. Now he stands

before the Court in the process of his acceptance and his recovery. Ty Jindra's words to

this Court:

              I should have handled my mental health issues honestly and in a healthy
              way, but instead I began drinking almost every day to blackout and taking
              whatever prescription pills I could find to numb the pain. When I ran out of
              my own prescribed Xanax, I began to search for more drugs in the worst
              way possible- at work as a police officer. I am ashamed and feel extreme
              guilt for abusing my position to take pills from those I encountered on the
              street, and I admit to committing the crimes I have been convicted of.

              My biggest regret is withholding the full truth from both my attorneys and
              my close family. Violating the public’s trust with my actions and the
              dishonor I had brought to the badge I wore proudly for years selfishly made
              me bury the truth for fear of the public shame and humiliation. I knew I had
              committed several of the crimes I was charged with, but I chose to go to
              trial as many of the charges simply weren’t true. The jury in my case made
              the correct decisions, and I respect them for that.

Reading Mr. Jindra's letter we can shake our heads in disbelief and comment on how he

should have taken responsibility earlier.        Plead guilty before trial.       Accepted

responsibility from the start. It is an easy position to take for those of us who have never

known the darkness that exists inside those who use. Ty Jindra violated the public trust,

but he is also an individual who has suffered trauma and addiction. The sentencing

guidelines calculate an advisory range of 33-41 months. A just sentence falls well below.

       In accordance with 18 U.S.C. § 3553 (B), U.S.S.G. § 5K2.0, Gall v. United States,

552 U.S. 38 (2007), and the factors set forth in 18 U.S.C. § 3553(a), Counsel for Mr.


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Jindra submits a downward sentence variance is warranted. Mr. Jindra has learned from

AA that, “The essence of all growth is a willingness to make a change for the better and

then an unremitting willingness to shoulder whatever responsibility this entails.” Again,

Mr. Jindra's words,

              I take responsibility for my actions for which I have been convicted for.
              Though I have made very serious mistakes, I still believe that I am a good
              person with a lot left to contribute to society, and still feel like the man who
              strives to help, serve, & protect others the way I have my whole life, from
              my Army days to my short law enforcement career. For years I have
              struggled, and I have failed at times, but I have not and will not give up on
              my path to mental wellness for me and my family.

Mr. Jindra will never escape the betrayal to the public. A Google search will forever

reveal his crimes. He will never be in law enforcement. A profession he and his family

have dedicated their lives. But, Mr. Jindra keeps fighting for himself and his family. Part

of the fight involves his admission of guilt. About two months ago Mr. Jindra admitted

his crimes to his Counsel. It was part of his process of acceptance. Since then Mr. Jindra

has been steady in his desire to extend that admission to the Court and the public. He has

accepted responsibility for his actions.

       The PSR is replete with § 3553 factors. The medical conditions of his wife and

child. (PSR at ¶ 74). His own well documents mental health issues. (PSR at ¶¶ 83-93).

His substance abuse issues. (PSR at ¶¶ 94-96). His very honorable service in the Army

and the war in Iraq, which resulted in receiving the Army Achievement Medal, National

Defense Service Medal, Global War on Terrorism Expeditionary Medal, Global War on

Terrorism Service Medal, Army Service Ribbon, Overseas Service Ribbon, and Armed

Forces Reserve Medal. (PSR at ¶¶ 101 and 102). His Army Achievement Medal was


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awarded due to his "ability to clear the route of any emplaced IEDs and deterring any

possible attacks on US Forces." (PSR at ¶101). His service to the United States was on

the frontline and he knew firsthand the devastating effect of IEDs. (PSR at ¶ 83).

       He served the United States for six years and when he returned home he believed

he still owed more. He joined the MPD and just barely into his career found himself part

of the tragedy of Justine Damond's shooting. He experienced the trauma of her death and

the existential crisis of the MPD's reaction to the shooting. It was, as his wife told Ms.

Heino, "the straw that broke the camel's back... he couldn't take it anymore." (PSR at ¶

79). It is fortunate that Mr. Jindra's spiral did not end with the loss of his life. He

nevertheless lost everything that defines who we are as individuals. He threw away his

profession, pride, respect. He succumbed to the terror, bewilderment, frustration, and

despair that is addiction. But there is redemption to be had. Mr. Jindra's words,

              In a way, being charged with these crimes was the best thing that could
              have happened to me, as losing my whole identity, being completely
              exposed and humiliated allowed me to be broken down and build myself
              back up.

And he has built himself back up.         Sobriety.   Acceptance of responsibility.    Self-

improvement. He has a plan for his future. To support his family. To work as a

contractor. To volunteer and share his story with vets and first responders-to steer those

on his previous path in a different direction.

       Mr. Jindra, his family, and the public will be in a better place in the future because

of who Ty Jindra has become.




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                                               Respectfully submitted,

                                               WOLD MORRISON LAW

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